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                                              601 South Figueroa Street, Suite 2500
                                          5   Los Angeles, California 90017-5704
                                              Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                                          6
                                              Attorneys for Trustee and Trust Board
                                          7
                                                                            UNITED STATES BANKRUPTCY COURT
                                          8                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                 SAN FERNANDO VALLEY
                                          9
                                                  In re:
                                         10                                                       Lead Case No.: 1:17-bk-12408-MB
601 SOUTH FIGUEROA STREET , SUITE 2500




                                                  ICPW LIQUIDATION CORPORATION, a                 Jointly administered with: 1:17-bk-12409-
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11       California corporation,1                        MB; Chapter 11 Cases

                                                            Debtor and Debtor in Possession.      Adv. Proc. No.: 1:17-ap-01101-MB
         DENTONS US LLP




                                         12
            (213) 623-9300




                                         13       In re:
                                         14                                                       STIPULATION RE SETTLEMENT
                                                  ICPW LIQUIDATION CORPORATION, a                 AGREEMENT, RELEASE OF FUNDS
                                                  Nevada corporation,2                            AND DISMISSAL OF ADVERSARY
                                         15
                                                                                                  PROCEEDING [RELATES TO
                                                            Debtor and Debtor in Possession.      DOCKET NO. 73]
                                         16

                                         17
                                                  MATTHEW PLISKIN, AS TRUSTEE OF
                                         18       THE TRUST CREATED UNDER THE                     [No Hearing Required]
                                                  JOINT PLAN OF LIQUIDATION DATED
                                         19       FEBRUARY 9, 2018,
                                         20                        Objector and Plaintiff,
                                         21         - against -
                                         22       RADIANS WAREHAM HOLDING, INC.,
                                         23                Claimant and Defendant.
                                         24

                                         25

                                         26

                                         27
                                              1
                                         28       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                              2
                                                  Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


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                                          1                                                RECITALS

                                          2
                                                         This Stipulation (the “Stipulation”) is by and among Matthew Pliskin, as Trustee of the
                                          3
                                              Trust (the “Trustee”) created under the Joint Plan of Liquidation, dated February 9, 2018, in In re
                                          4
                                              ICPW Liquidation Corporation, a California corporation, et al., Lead Case No.: 1:17-bk-12408-MB,
                                          5
                                              in the United States Bankruptcy Court for the Central District of California, San Fernando Valley
                                          6
                                              Division (the “Bankruptcy Court”), on the one hand, and Radians Wareham Holding, Inc.
                                          7
                                              (“RWHI”), on the other. Each of the Trustee and RWHI may be referred to in this Stipulation as a
                                          8
                                              “Party” or collectively, the “Parties.”
                                          9
                                                         WHEREAS, on September 8, 2017, ICPW Liquidation Corporation (f/k/a Ironclad
                                         10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                              Performance Wear Corporation), a Nevada corporation (“ICPW NV”), and ICPW Liquidation
                                         11
                                              Corporation (f/k/a Ironclad Performance Wear Corporation), a California corporation (“ICPW CA”
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                                              and collectively with ICPW NV “ICPW” or the “Debtors”), filed voluntary petitions for relief under
                                         13
                                              Chapter 11 of the United States Bankruptcy Code in the United States Bankruptcy Court for the
                                         14
                                              Central District of California, San Fernando Division (as previously defined, the “Bankruptcy
                                         15
                                              Court”) (Lead Case No.: 1:17-bk-12408-MB and 1:17-bk-12409-MB, together the “Bankruptcy
                                         16
                                              Cases”);
                                         17
                                                         WHEREAS, the Trustee is the successor in interest to the official committee of equity
                                         18
                                              holders for ICPW NV, which committee commenced an adversary proceeding on December 5, 2017,
                                         19
                                              against RWHI and certain affiliates by filing an objection to claim, a complaint and a subsequent
                                         20
                                              amended complaint alleging wrongdoing concerning Debtors’ loan agreements and related
                                         21
                                              indebtedness (Adv. Proc. No. 1:17-ap-01101-MB, the “Adversary Proceeding”);
                                         22
                                                         WHEREAS, in the Adversary Proceeding, the Trustee alleged and asserted a cause of action
                                         23
                                              relating to the acquisition and administration of the “ICPW Loan from Capital One” prior to the
                                         24
                                              filing of the Bankruptcy Cases and objected to RWHI’s Claim No. 20-1 in Bankruptcy Case No.
                                         25
                                              1:17-bk-12408-MB and Claim No. 7-1 in Bankruptcy Case 1:17-bk-12409-MB (the “Proofs of
                                         26
                                              Claim”);
                                         27
                                                         WHEREAS, on March 12, 2018, the Trustee filed his Motion to Estimate Claim of Radians
                                         28
                                              Wareham Holding, Inc. for Reimbursement of Legal Fees Pursuant to 11 USC Section 502(c)


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                                          1   [Bankr. Docket No. 473] (the “Motion to Estimate”) seeking from the Bankruptcy Court an

                                          2   estimation of RWHI’s indemnity claim for attorney’ fees pursuant to 11 U.S.C. § 502(c);

                                          3           WHEREAS, after a hearing on the Motion to Estimate held on April 3, 2018 (the “Hearing”),

                                          4   on April 23, 2018, the Bankruptcy Court entered the Order Granting In Part Motion to Estimate

                                          5   Claim of Radians Wareham Holding, Inc. for Reimbursement of Legal Fees Pursuant to 11 U.S.C.

                                          6   § 502 (the “Estimation Order”) [Bankr. Docket No. 555] based on agreement that counsel reached

                                          7   at the Hearing that the “Class 3 Reserve Fund” (as defined in the Estimation Order) should be

                                          8   $2,300,000, which is defined in the Estimation Order as the “Agreed Class 3 Reserve Fund.” The

                                          9   Estimation Order provided that the Agreed Class 3 Reserve Fund “shall be retained by the Trustee

                                         10   in a segregated interest bearing trust account [the “Account”] until further Order;”
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11           WHEREAS, the parties to the Stipulation have settled their disputes under that certain

                                              Settlement Agreement, dated January 14, 2020 (the “Settlement Agreement”). In connection
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                                         13   therewith, the Trustee filed the Trustee’s Notice of Settlement With and Payment To Radians

                                         14   Wareham Holding, Inc. [Bankr. Docket No. 624] (the “Notice”). Pursuant to the Settlement

                                         15   Agreement, the Parties have consented to the release and discharge of the Agreed Class 3 Reserve

                                         16   Fund.

                                         17           WHEREAS, the deadline to object to the Settlement Agreement has passed and no

                                         18   objections to the Notice have been filed.

                                         19                                               AGREEMENT

                                         20           NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED:

                                         21      1.   The Settlement Agreement is effective;

                                         22      2.   The Trustee’s obligation to reserve the Funds is discharged and, thus, the Trustee is no

                                         23   longer required to hold the Agreed Class 3 Reserve Fund in the amount in the Account;

                                         24      3.   The Trustee’s claims in the Adversary Proceeding are hereby dismissed with prejudice;

                                         25      4.   Upon receipt of the Payment (as defined in the Settlement Agreement), RWHI waives any

                                         26   right or entitlement to further distribution on account of the claims set forth in the Proofs of Claim.

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                                          1   Matthew Pliskin, Plaintiff and Objector as
                                              Trustee of the Trust Created Under the Joint Plan of
                                          2   Liquidation, dated February 9, 2018
                                          3   By:    /s/ Tania M. Moyron
                                          4   Samuel R. Maizel
                                              Tania M. Moyron
                                          5   DENTONS US LLP
                                              Counsel to Matthew Pliskin, Plaintiff and Objector as
                                          6   Trustee of the Trust Created Under the Joint Plan of
                                              Liquidation, dated February 9, 2018
                                          7

                                          8
                                              Radians Wareham Holding, Inc.
                                          9
                                              By:
                                         10   Sharon Z. Weiss
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                              BRYAN CAVE LEIGHTON PAISNER LLP
                                         11
                                              Counsel to Radians Wareham Holding, Inc.
         DENTONS US LLP




                                         12
            (213) 623-9300




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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the foregoing document entitled (specify): STIPULATION RE SETTLEMENT AGREEMENT,
RELEASE OF FUNDS AND DISMISSAL OF ADVERSARY PROCEEDING [RELATES TO DOCKET NO. 73] will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 29, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       Natalie B. Daghbandan natalie.daghbandan@bclplaw.com,
          raul.morales@bryancave.com;theresa.macaulay@bryancave.com
       Natalie B. Daghbandan natalie.daghbandan@bryancave.com,
          raul.morales@bryancave.com;theresa.macaulay@bryancave.com
       Samuel R Maizel samuel.maizel@dentons.com,
          alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
          dentons.com;joan.mack@dentons.com;derry.kalve@dentons.com
       Tania M Moyron tania.moyron@dentons.com,
          chris.omeara@dentons.com;nick.koffroth@dentons.com;Sonia.martin@dentons.com;Isabella.hsu@dentons.com;
          lee.whidden@dentons.com;Jacqueline.whipple@dentons.com
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
       Sharon Z. Weiss sharon.weiss@bclplaw.com, raul.morales@bclplaw.com

                                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 29, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 29, 2020, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367
                                                                                                Service information continued on attached page

                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 29, 2020                     Christina O'Meara                                             /s/Christina O'Meara
 Date                               Printed Name                                                    Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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SERVED BY U.S. MAIL:

Secured Creditor                                        Counsel to Radians Wareham
Radians Wareham Holding, Inc.                           Holdings
Attn: Mike Tutor, CEO                                   E. Franklin Childress, Jr.
5305 Distriplex Farms                                   Baker, Donelson, Bearman, Caldwell
Memphis, TN 38141                                       & Berkowitz, PC
                                                        165 Madison Ave, Suite 2000
                                                        Memphis, Tennessee 38103

Brown Rudnick LLB                                       Ron Bender
Attn: Catherine M. Castaldi                             Monica Y. Kim
2211 Michelson Dr., 7th Floor                           Krikor J. Meshefejian
Irvine, CA 92612                                        Levene, Neale, Bender, Yoo & Brill
                                                        LLP
                                                        10250 Constellation Blvd., Suite 1700
                                                        Los Angeles, CA 90067

Equity Holders - SERVED BY EMAIL
Patrick W. O'Brien                                      Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                       1524 N. Astor Street                                938 Duncan Avenue
Lake Forest, IL 60045-4707                              Chicago, IL 60610                                   Manhattan Beach, CA 90266
Email: obrien.pat@me.com                                Email: rlchez@rcn.com                               Email: scott.jarus@verizon.net




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June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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